









				

	




NUMBER 13-07-00370-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


                                                                                                                      


LIMITED LOGISTICS SERVICES, INC.,				 Appellant,


v. 


CARLOS ROMERO VILLEGAS, ET AL.,				Appellees.

                                                                                                                      


On appeal from the 206th  District Court 

of Hidalgo County, Texas


                                                                                                                      


DISSENTING OPINION



Before Chief Justice Valdez and Justices Garza and Vela


Dissenting Opinion by Justice Vela



	I would sustain Limited Logistics Services, Inc.'s ("LLS") third, fourth and fifth issues
because I do not believe that Villegas met his burden of establishing that the trial court had
jurisdiction over LLS. 


	In this case, Villegas seeks to hold LLS responsible for injuries he sustained when
Gary Wayne Tutt, Villegas's co-employee at Special Distribution Services, Inc. ("SDS"),
backed an SDS truck into him while the two were delivering merchandise to a business in
McAllen.  It is undisputed that Villegas has settled with SDS and he seeks to hold LLS
responsible on either a single business enterprise theory or a claim that LLS negligently
hired SDS to do its shipping.  The evidence Villegas introduced to establish jurisdiction in
Texas is the alleged shipping contract between LLS and SDS and a report from Whitney
Morgan, Villegas's expert.  Attached to Morgan's report is an "affidavit" wherein Morgan
swears only that he has  personal knowledge of the facts and opinions in his report.  He
states neither that they are true nor correct. 

	Because the question of a court's exercise of personal jurisdiction over a
nonresident defendant is one of law, we review a trial court's determination of a special
appearance de novo.  Moki Mac River Expeditions v. Drugg, 221 S.W.3d 569, 574 (Tex.
2007) (citing BMC Software Belg., N.V. v. Marchand, 83 S.W.3d 789, 794 (Tex. 2002)).
The plaintiff bears the initial burden of pleading "sufficient allegations to bring a nonresident
defendant within the provisions of the long-arm statute."  BMC Software, 83 S.W.3d at 793. 
When a special appearance is filed, the nonresident defendant assumes the burden of
negating all bases of personal jurisdiction asserted by the plaintiff.  Moki Mac, 221 S.W.3d
at 574; BMC Software, 83 S.W.3d at 793; El Puerto de Liverpool, S.A. de C.V. v. Servi
Mundo Llantero, S.A. de C.V., 82 S.W.3d 622, 628 (Tex. App.-Corpus Christi 2002, pet.
dism'd w.o.j.).


	In this case, Villegas  asserts that Texas courts have personal jurisdiction over LLS
based on the theory that SDS, a Texas corporation, Limited Brands, Inc., Bath and Body
Works, and LLS "integrated resources to achieve a common business purpose and they
should be equitably treated as a single business enterprise."  Villegas also asserts
vicarious liability, negligence and negligent hiring.  When a plaintiff's assertion of
jurisdiction depends on imputing the actions of a resident to a nonresident, the burden of
proof shifts back to the plaintiff.  See IRA Res., Inc. v. Griego, 221 S.W.3d 592, 597 (Tex.
2007) ("Texas law does not presume agency, and the party who alleges it has the burden
of proving it.") (citing Buchoz v. Klein, 143 Tex. 284, 184 S.W.2d 271, 271 (1944)); BMC
Software, 83 S.W.3d at 798 (holding that "the party seeking to ascribe one corporation's
action to another by disregarding their distinct corporate entities must prove this
allegation"). 

	Villegas, therefore, bore the burden of both pleading and proving jurisdiction as to
LLS.  The Texas Supreme Court recently stated, to "fuse" the parent company and its
subsidiary for jurisdictional purposes, the plaintiffs must prove the parent controls the
internal business operations and affairs of the subsidiary.  But, the degree of control the
parent exercises must be greater than that normally associated with common ownership
and directorship; the evidence must show that the two entities cease to be separate so that
the corporate fiction should be disregarded to prevent fraud or injustice.  PHC-Minden, L.P.
v. Kimberly-Clark Corp., 235 S.W.3d 163, 175 (Tex. 2007) (quoting BMC Software, 83
S.W.3d at 799).  That is, there must be evidence of a "'plus' factor, 'something beyond the
subsidiary's mere presence within the bosom of the corporate family.'"  Id. at 176 (citing
Dickson Marine, Inc. v. Panalpina, Inc., 179 F.3d 331, 338 (5th Cir. 1999)).

	Here, LLS established through its special appearance that it is a Delaware
Corporation with its principal place of business in Ohio, it is not a resident of Texas and
does not maintain and has not maintained a place of business in Texas, and it does not
have any employees, officers, directors or other legal representatives within the State of
Texas for the purpose of conducting business in Texas.  In response, Villegas submitted
a shipping contract between LLS and SDS as evidence that LLS "controlled" SDS.  When
one has the right to control the end sought to be accomplished, but not the means and
details of how it should be accomplished, the person employed acts as an independent
contractor and not as an agent.  Olympia Capital Assocs., L.P. v. Jackson, 247 S.W.3d
399, 413 (Tex. App.-Dallas 2008, no pet.).  An independent contractor's contacts with the
forum are not attributable to the principal.  Id.  At most, the contract in question showed
that LLS required SDS to comply with governmental and safety standards and states that
SDS should hire competent employees.  It does not give LLS the right to control the
method or means of the work performed by SDS or its employees.  It in no way establishes
a right of LLS to control the means and details of how SDS should perform its work.   

	Here, Villegas does not allege that LLS committed a tortious act in Texas.  Rather,
Villegas seeks to hold LLS responsible for the alleged negligent actions of an unrelated
entity and its employee, SDS and Tutt.  In the absence of a specific act performed in Texas
by LLS, its only burden was to negate its residency.  It did that by the affidavit supporting
its special appearance.  Absent allegations of any specific, purposeful act through which
LLS can be said to have sought the benefit of availing itself of the jurisdiction, evidence
that a  defendant is a nonresident is sufficient.  See Hotel Partners v. KPMG Peat Marwick,
847 S.W.2d 630, 633 (Tex. App.-Dallas 1993, writ denied) (stating that without
jurisdictional allegations by the plaintiff that the defendant has committed an act in Texas,
the defendant can meet its burden by negating all potential bases of jurisdiction by showing
that it is a non-resident).

	A Texas court may assert specific jurisdiction over an out-of-state defendant if the
defendant's contact with Texas is purposeful and the injury arises from or relate to those
contacts.  Moki Mac, 221 S.W.3d at 573-74.  There must be a substantial connection
between LLS's contacts with Texas and the operative facts of the litigation.  Id. at 585. 
Here, LLS's connection with Texas is random, attenuated and fortuitous.  It is clear that
Texas has an interest in adjudicating Villegas's claim against SDS, a Texas company, but
I believe Villegas has failed to carry his burden with regard to LLS.

	For the above reasons, I dissent.  



								ROSE VELA

								Justice


Dissenting Opinion delivered and 

filed this 27th day of August, 2008.








								


